             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF MISSOURI
                               SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                        Plaintiff,                 )
                                                   )
       vs.                                         )       No. 07-05060-14-CR-SW-ODS
                                                   )
JAMES L. EATON,                                    )
                                                   )
                        Defendant.                 )


                       ACCEPTANCE OF PLEA OF GUILTY AND
                            ADJUDICATION OF GUILT


       Pursuant to the Report and Recommendation of the United States Magistrate Judge, to which

there has been no timely objection, the plea of guilty of the Defendant to Count One of the

Indictment filed on August 29, 2007, is now Accepted and the Defendant is Adjudged Guilty of

such offense. Sentencing will be set by subsequent Order of the Court.




                                                        /s/ Ortrie D. Smith
                                                   ORTRIE D. SMITH
                                                   UNITED STATES DISTRICT JUDGE




Date: June 30, 2008




      Case 3:07-cr-05060-ODS          Document 223       Filed 06/30/08     Page 1 of 1
